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THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

THE TRIAL COURT
US DISTRICT COURT
DOCKET NO: 1:23-CV-12122
ESSEX,ss
SABRINA WILLIAMS
Plaintiff 3
v. =
AMAZON 3
Defendant '
DATED: 11-7-2023 “
“9

EX PARTE EMERGENCY MOTION: THE PLAINTIFF WIOVES. : .

FOR DOCKET 1:23-CV-12122 TO BE SEALED | (IMPOUNDED): ; ~
The plaintiff requests (a) all documents filed moving forward (b) for the duration of the docket, while § 7 1
opened and closed (c) due to the motions pertaining to the allegations that the plaintiff's fourteenth
amendment right have been violated and (d) reasons that other alternatives to impoundment will not
afford adequate protection is because the information is of the type that is confidential and requires
that the public does not have access to. Also, there exists harm, damage, injury that may occur as the
information can be used in a retaliative way endangering the welfare of the plaintiff, compromising
her safety, privileges, immunities, and/or liberties. Therefore, to protect the rights of the plaintiff and
to prevent any further damage, harm, or injury to the plaintiff, it is requested that this docket be
sealed/impounded. The proposed order is: “Docket 1:23-CV-12122 shall be impounded while the
status of the docket is open/closed.”

Affidavit

URIP RULE 3a states: An ex parte order of impoundment may be issued by the court without prior notice
only upon either the filing of a written motion supported by affidavit in the manner provided in

URIP Rule 2, or by the court sua sponte, and only upon a showing that immediate and irreparable injury
may result before a party or interested nonparty can be heard in opposition. The court may conduct

an ex parte hearing prior to issuing an order.” The plaintiff in this matter, Sabrina Williams, does not
request a hearing. But she requests an emergency ex parte motion in order to be able to request for this
docket to be impounded as there is concern that the information available may be used in a way that
may cause harm, damage, or injury to the plaintiff as the docket contains sensitive and private
information. Because the nature of the docket is one involving violation of the following plaintiff's rights,
the plaintiff asserts that it is crucial that ALL OF THE docket entries of 1:23-CV-12122 be impounded as
misuse of the information as well as violation of laws/rules/provisions/etc., may occur by others
should the decket not be impounded. For these reasons, the plaintiff respectfully requests of this
honorable court to allow the plaintiff's request to impound all docket entries of docket 1:23-CVv-
12122.

Date: November 7, 2023

Signature: 2 dW s_

Print Name: Sabrina M Williams

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Street Address: 200 Brookside Drive Unit C
Town: Andover

State: MA

Zip: 01810

Tele No: 256-457-2294

Email: sm484@njit.edu

Signature: d | |

CERTIFICATE OF SERVICE

EX PARTE EMERGENCY MOTION: THE PLAINTIFF MOVES
FOR DOCKET 1:23-CV-12122 TO BE SEALED (IMPOUNDED)
SUBMITTED ON: 11-7-2023

| hereby have served the above named document upon the defendant via email at:
EmMiller@seyfarth.com

signature, AAW

Print Name: Sabrina M Williams

Street Address: 200 Brookside Drive Unit C
Town: Andover

State: MA

Zip: 01810

Tele No: 256-457-2294

DATE: 11/4/2023

